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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   MATTHEW M. SCOBLE, Bar #237432
     Designated Counsel for Service
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     PATRICIA ALBRIGHT
 6
 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,       )     NO. Cr.S-11-226-GEB
11                                   )
                    Plaintiff,       )
12                                   )     STIPULATION AND [PROPOSED] ORDER;
          v.                         )     CONTINUING TRIAL CONFIRMATION
13                                   )     HEARING AND JURY TRIAL AND
     PATRICIA ALBRIGHT,              )     EXCLUDING TIME
14   JORDAN ROBERT WIRTZ,            )
                                     )     Date: February 22, 2013
15                  Defendant.       )     Time: 9:00 a.m.
     _______________________________ )     Judge: Hon. Garland E. Burrell Jr.
16
17        IT IS HEREBY STIPULATED by and between the parties hereto through

18   their respective counsel, MICHAEL BECKWITH, Assistant United States

19   Attorney, attorney for Plaintiff, and MATTHEW SCOBLE, attorney for

20   PATRICIA ALBRIGHT, and JOHN MANNING, attorney for JORDAN ROBERT WIRTZ,

21   that the trial confirmation hearing date of October 5, 2012 and the

22   jury trial date of November 6, 2012 be vacated, and the matter be set

23   for trial confirmation hearing on February 22, 2013 at 9:00 a.m. and

24   jury trial on March 26, 2013 at 9:00 a.m.

25        The reason for this continuance is to allow defense counsel

26   additional time to review discovery with the defendant, to examine

27   possible defenses and to continue investigating the facts of the case.

28        Based upon the foregoing, the parties agree that the time under
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 1   the Speedy Trial Act should be excluded from the date of signing of
 2   this order through and including February 22, 2013 pursuant to 18
 3   U.S.C. §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and Local
 4   Code T4 based upon continuity of counsel and defense preparation.
 5
     DATED:    October 1, 2012.                      Respectfully submitted,
 6
                                                     DANIEL J. BRODERICK
 7                                                   Federal Public Defender
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 9                                                   /s/ Matthew Scoble
                                                     MATTHEW SCOBLE
10                                                   Designated Counsel for Service
                                                     Attorney for PATRICIA ALBRIGHT
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12
                                                     /s/ Matthew Scoble for:
13                                                   JOHN MANNING
                                                     Attorney for JORDAN ROBERT WIRTZ
14
15   DATED:    October 1, 2012.                      BENJAMIN WAGNER
                                                     United States Attorney
16
17
                                                     /s/ Matthew Scoble for
18                                                   MICHAEL BECKWITH
                                                     Assistant U.S. Attorney
19                                                   Attorney for Plaintiff
20
21
22                                       ORDER
23        UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
24   ordered that the October 5, 2012, trial confirmation hearing and the
25   November 6, 2012 jury trial be continued to February 22, 2013, at 9:00
26   a.m. for trial confirmation hearing and March 26, 2013, at 9:00 a.m.
27   for jury trial. Based on the representation of defense counsel and good
28   cause appearing there from, the Court hereby finds that the failure to


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              Case 2:11-cr-00226-TLN Document 79 Filed 10/01/12 Page 3 of 3


 1   grant a continuance in this case would deny defense counsel reasonable
 2   time necessary for effective preparation, taking into account the
 3   exercise of due diligence.       The Court finds that the ends of justice to
 4   be served by granting a continuance outweigh the best interests of the
 5   public and the defendant in a speedy trial.          It is ordered that time up
 6   to and including the February 22, 2013 trial confirmation hearing shall
 7   be excluded from computation of time within which the trial of this
 8   matter must be commenced under the Speedy Trial Act pursuant to 18
 9   U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T-4, to allow defense
10   counsel reasonable time to prepare.
11   Dated:   October 1, 2012
12
13                                       GARLAND E. BURRELL, JR.
14                                       Senior United States District Judge

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